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Counsel to the Official Committee of
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Counsel for the Official Committee
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VHWIRUWKLQWKLVSDUDJUDSKVKDOOEHFRQWUDFWXDOLQDGGLWLRQWRDZDLYHURIDSURFHGXUDORU

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                  Counsel for Catholic Cemeteries of the Roman Catholic Diocese of Rockville
                  Centre, Inc., in both its individual capacity and as the sole trustee for the
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&RPPLWWHH¶VULJKWVWRSURVHFXWHWKH&HPHWHU\&ODLPVRQEHKDOIRIWKHHVWDWHRURWKHUZLVHREWDLQV

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                                                         Counsel for the Official Committee of
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